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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division


SYMBOLOGY INNOVATIONS, LLC

       Plaintiff,

       v.                                              Civil Action No. 2:17-cv-00085-AWA-RJK

MARS, INCORPORATED

       Defendant.


 JOINT MOTION TO DENY DEFENDANT MARS, INCORPORATED’S MOTION TO
                   DISMISS (D.E. 11) AS MOOT, AND
          TO SET DATE TO ANSWER, OR OTHERWISE RESPOND,
             TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       Plaintiff Symbology Innovations, LLC’s (“Symbology”) filed its Original Complaint

against Defendant Mars, Incorporated (“Mars”) on January 3, 2017. On April 6, 2017, Mars

moved to dismiss in part the Original Complaint for failure to state a claim pursuant to Fed. R.

Civ. P. 12(b)(6) (D.E. 11) (“Mars’s Motion”). On April 20, 2017, Symbology filed its

Opposition to Mars’s Motion, together with a First Amended Complaint (“FAC”) under Fed. R.

Civ. P. 15(a)(1)(B). In its Opposition, Symbology argued that the FAC rendered Mars’s Motion

moot. (D.E. 13 at 3). Although Mars disagrees with the substance of the allegations in the FAC,

it agrees that Symbology’s filing of the FAC moots Mars’s Motion. (D.E. 11). Therefore, to

conserve the Court’s resources, the parties jointly ask: (1) that the Court deny Mars’s Motion

(D.E. 11) as moot; and (2) that the Court set May 19, 2017 as the date for Mars to answer, or

otherwise respond, to Symbology’s FAC. A proposed order and waiver of hearing are submitted

herewith.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of May, 2017, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

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